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%s AO 245A (Rev. 12/03) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                           MIDDLE                                DISTRICT OF               ALABAMA

          UNITED STATES OF AMERICA
                                                                         JUDGMENT OF ACQUITTAL
                              V.

                    DARIAN LOCURE
                                                                         CASE NUMBER: 3:18cr08-WKW-02




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




/s/ W. Keith Watkins
Signature of Judge

 W.KEITH WATKINS                    Chief         U.S. District Judge
Name of Judge                                   Title of Judge

6/18/2018
                                   Date
